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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOHN T. WILLIAMS, et al.,

                                 Plaintiffs,
                                                                  19-CV-837 (LLS)
                     -against-
                                                                        ORDER
 UNITED STATES OF AMERICA, et al.,

                                 Defendants.

LOUIS L. STANTON, United States District Judge:

       By order dated May 13, 2020, the Court determined that Plaintiff is entitled to the return

of the $50 administrative fee. It appeared, however, that Plaintiff’s address had changed. The

docket showed, and continues to show, an address in Jonesboro, Georgia, but a letter received on

January 14, 2020, provided an address in Sparks, Nevada. (ECF No. 18.) In the May 13, 2020

order, the Court directed Plaintiff to update his address within thirty days by submitting a change

of address, and informed Plaintiff that once he confirmed his mailing address, the Court would

direct the Clerk of Court to issue a check in the amount of $50 and mail it to Plaintiff via

certified mail. (ECF No. 19.) But instead of updating his address, on September 9, 2020, Plaintiff

submitted a “motion for return of filing fees.” (ECF No. 20.) The return address on that filing

shows an address in Reno, Nevada.

       The Court reiterates that Plaintiff must update his address by submitting a change of

address. Once Plaintiff confirms with the Court what his current mailing address is, the Clerk of

Court will issue a check to Plaintiff in the amount of $50 and mail it to him via certified mail.
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         The motion for return of the filing fees (ECF No. 20) is denied as moot, and the Clerk of

Court is directed to terminate it.

         The Clerk of Court is further directed to mail a copy of this order to Plaintiff at 5150 Mae

Anne Avenue, Ste 405, #209, Reno, NV 89523, and note service on the docket.

SO ORDERED.

Dated:     October 16, 2020
           New York, New York

                                                                 Louis L. Stanton
                                                                    U.S.D.J.




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